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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



UNITED STATES OF AMERICA

v.                                             CASE NO. 4:18cr76-RH

JOHN THOMAS BURNETTE,

                   Defendant.

____________________________________/


                       STATEMENT ON RESUMPTION OF THE TRIAL


         The trial will resume at 9:00 a.m. on Tuesday, July 20, 2021.

         SO ORDERED on July 19, 2021.

                                         s/Robert L. Hinkle
                                         United States District Judge




Case No. 4:18cr76-RH
